Case 1:20-cr-00068-LEK Document 62-4 Filed 05/20/22 Page 1 of 6   PageID.693




                &YIJCJU
Case 1:20-cr-00068-LEK Document 62-4 Filed 05/20/22 Page 2 of 6         PageID.694




                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, )                  CR. NO. 20-00068 LEK
                               )
               Plaintiff,      )             DECLARATION OF
                               )             ERICA O. WAYMACK
     vs.                       )
                               )
NICKIE MALI LUM DAVIS,        )
                               )
               Defendant.      )
_______________________________)

                        DECLARATION OF TODD GEE

      I, Erica O. Waymack, declare under penalty of perjury that the facts regarding

the activity of the filter team set forth in the Government’s RESPONSE IN

OPPOSITION TO MOTIONS TO DISQUALIFY, STAY SENTENCING, AND

FOR JUDICIAL RELIEF (ECF No. 55) and the Government’s REPLY RE

MOTION FOR JUDICIAL FINDING OF WAIVER OF ATTORNEY CLIENT

PRIVILEGE (ECF No. 62) are true and correct to the best of my knowledge and

belief.

      I further declare under penalty of perjury the following:

            1.     I was a member of the filter team assigned to review potentially

      privileged materials obtained in the course of the government’s investigation

      of Elliott Broidy, Nickie Mali Lum Davis and others.

                                         1
Case 1:20-cr-00068-LEK Document 62-4 Filed 05/20/22 Page 3 of 6        PageID.695




           2.     In or about July to August 2020, when reviewing potentially

     privileged communications from Broidy’s email account, the filter team

     determined that Abbe Lowell and others several years earlier had sought to

     obtain a pardon for a wealthy businessman in a manner that could potentially

     be illegal (hereinafter referred to as the “Pardon Matter”).         After the

     discovery of the Pardon Matter in Broidy’s emails, the filter team was

     concerned that Lowell could have a potential conflict that his current client,

     Nickie Lum Davis, may need to be made aware of prior to entering into a

     guilty plea because, assuming arguendo the emails did reflect illegal activity,

     Lowell could be aware that the government had knowledge of his involvement

     in that activity through the seizure of Broidy’s email account, and he could

     therefore potentially have a motive to curry favor with the government to

     avoid any potential prosecution for his involvement in that matter.

     Accordingly, the filter team decided that it would prepare and file an ex parte

     motion seeking authorization to provide the withheld communications

     regarding the Pardon Matter to the prosecution team in order to permit the

     prosecution team to take whatever steps it deemed necessary with respect to

     this information, such as discussing with Lowell how to ensure Ms. Davis was

     aware of this potential conflict in advance of her guilty plea. The filter team

     included a notification in its ex parte motion to inform the court that plea
                                        2
Case 1:20-cr-00068-LEK Document 62-4 Filed 05/20/22 Page 4 of 6                                PageID.696




           negotiations were ongoing between the prosecution team and Ms. Davis

           through Lowell, and that it was unknown whether Lowell had disclosed his

           potential conflict created by the Pardon Matter to Ms. Davis.1

                   3.       At no point was I ever directed by John D. Keller or any member

           of the prosecution team to seek court authorization for the purpose of sharing

           the email communications from Broidy’s email account involving Lowell

           with the prosecution team, and the decision to seek such authorization through

           the ex parte motion filed by the filter team on August 10, 2020, including the

           timing of the filing of that motion, was made exclusively by the filter team

           without any input from Mr. Keller or any other member of the prosecution

           team.

                   4.       At no point was I directed by either Mr. Keller or any member of

           the prosecution team to review the communications from Broidy’s email

           account involving Lowell for the purpose of assessing any potential criminal

           exposure involving Lowell.

                   5.       Because the court had not ruled on the filter team’s ex parte

           motion by August 25, 2020, and the filter team could therefore not release the

           emails related to the Pardon Matter to the investigative team, the filter team



1
    Aug. 10, 2020, Filter Team Submission of Filing to Court, p. 4 n.3 (ECF No. 55, Ex. 10).
                                                          3
Case 1:20-cr-00068-LEK Document 62-4 Filed 05/20/22 Page 5 of 6                                   PageID.697




          asked the investigative team to connect it with Lowell so that the filter team

          could advise him of a potential conflict he may need to discuss with Ms. Davis

          in advance of her guilty plea. In making this request, the filter team did not

          inform the investigative team of the factual substance of that potential conflict

          and/or the nature of Lowell’s potential criminal exposure—i.e. the Pardon

          Matter and the nature of Lowell’s involvement in it.

                   6.       After Mr. Keller provided the filter team with an introduction to

          Lowell by email on August 25, 2020, the filter team discussed the potential

          conflict created by the Pardon Matter with Lowell during a telephone call on

          August 26, 2020. The filter team also provided Lowell with a sample of

          emails included in the ex parte motion, 2 and, in response to follow-up

          questions Lowell posed in an email, the filter team wrote back the following:

          “As we discussed, however, all of these matters are with respect to potential

          allegations . . . it is not us saying those crimes were necessarily committed.

          Given the potential exposure, however, we wanted to bring the matter to your

          attention so you could discuss it with your client.”3

                   7.       At no point prior to September 1, 2020, the day after the court

          granted the filter team’s ex parte motion, did I share with either Mr. Keller or


2
    Aug. 26, 2020, Email from Filter Team to Lowell re: Emails (ECF No. 55, Ex. 13).
3
    Aug. 26, 2020, Email from Filter Deputy Chief, Todd Gee, to Lowell re: Exposure (ECF No. 55, Ex. 14).
                                                         4
Case 1:20-cr-00068-LEK Document 62-4 Filed 05/20/22 Page 6 of 6       PageID.698




     with any other member of the prosecution team (1) a description of the factual

     substance of the Pardon Matter or the nature of Lowell’s potential criminal

     exposure for his involvement in it, or (2) the potentially privileged emails

     from Broidy’s account regarding the Pardon Matter.



     DATED: May 20, 2022, at Washington, D.C.




                                            Erica O. Waymack
                                            Trial Attorney
                                            Public Integrity Section
                                            Criminal Division
                                            U.S. Department of Justice




                                        5
